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Recipients submitted to the BNC (Bankruptcy Noticing Center):
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6053405     AT&T Mobility             P.O. Box 10330         Fort Wayne, IN 46851−0330
6053395     Alliance Collection Services          600 W. Main Street Suite A             Tupelo, MS 38804
6053396     Allied Interstate         435 Ford Road, Suite 800           Minneapolis, MN 55426
6053397     Allied Interstate LLC          P.O. Box 4000          Warrenton, VA 20188
6053398     Allied Interstate, Inc.        Data Operations          P.O. Box 2455           Chandler, AZ 85244−2455
6053399     Alltran Financial, LP          P.O. Box 610         Sauk Rapids, MN 56379
6053400     American Express            P.O. Box 981537          El Paso, TX 79998−1537
6112040     American Express Centurion Bank              c/o Becket and Lee LLP             PO Box 3001          Malvern, PA
            19355−0701
6053401     Apple Law Group             5000 Birch Street, Suite 3000          Newport Beach, CA 92660
6058426     Arkansas Department of Finance and Admin.                Legal Counsel Room 2380             P O Box 1272          Little Rock,
            AR 72203−1272
6053403     Arkansas Furniture           P.O. Box 965036           Orlando, FL 32896−5036
6053402     Arkansas Furniture           P.O. Box 981439           El Paso, TX 79998
6053404     Arkansas Specialty Orthopedic            600 S. McKinley            Little Rock, AR 72205
6053406     Bank of America            P.O. Box 15026         Wilmington, DE 19850−5026
6095659     Bank of America, N.A.            P O Box 982284            El Paso, TX 79998−2238
6053407     Barclays Bank Delaware             P.O. Box 8803          Wilmington, DE 19889
6053408     Becket & Lee           P.O. Box 3001          Malvern, PA 19355
6053409     Bill Me Later         P.O. Box 2394          Omaha, NE 68103−2394
6053412     CBE Group           1309 Technology Pkwy             Cedar Falls, IA 50613
6053413     CBSA Collections            P.O. Box 1929          Stillwater, OK 74076−1929
6053410     Capital One          P.O. Box 30281          Salt Lake City, UT 84130−0281
6112878     Cavalry SPV I, LLC as assignee of GE Retail Bank                500 Summit Lake Drive, Ste. 400            Valhalla, NY
            10595
6053411     Cavalry SPV, II           500 Summit Lake Drive            Suite 400         Valhalla, NY 10595
6119331     Cerastes WTB, LLC             C O WEINSTEIN & RILEY, PS                   2001 WESTERN AVENUE, STE
            400        SEATTLE, WA 98121
6053414     Cerastes, LLC           c/o Weinstein Riley         2001 Western Avenue, #400              Seattle, WA 98121
6053415     Chase         P.O. Box 15123           Wilmington, DE 19850−5123
6053416     Chase         P.O. Box 15298           Wilmington, DE 19850−5298
6053417     Chase Bank           P.O. Box 15298          Wilmington, DE 19850
6053418     Collection Services, Inc          Prospect Bldg. Ste. 950          1501 N. University         Little Rock, AR 72207
6121822     Complete Credit Solutions co Peritus Portfolio            P.O. Box 141419           Irving, TX 75014−1419
6053419     Credit One Bank            P.O. Box 98872         Las Vegas, NV 89193
6053420     Dell Financial Services          c/o DFS Customer Care Dept.              P.O. Box 81607          Austin, TX 78708
6114845     Dell Financial Services, LLC           Resurgent Capital Services            PO Box 10390           Greenville, SC
            29603−0390
6053421     Dept of Ed/Nelnet           3015 Parker Rd         Suite 400          Aurora, CO 80014
6053422     ECMC           111 South Washington Ave.             Suite 1400          Minneapolis, MN 55401
6101876     Educational Credit Management Corporation                P.O. Box 16408           Saint Paul, MN 55116−0408
6053423     Encore Receivable Management              P.O. Box 1880           Southgate, MI 48195−0880
6053425     LVNV Funding              P.O. Box 10497         Greenville, SC 29603−0497
6114846     LVNV Funding, LLC its successors and assigns as                assignee of FNBM, LLC             Resurgent Capital
            Services        PO Box 10587            Greenville, SC 29603−0587
6053424     Law Group Termination Dept.             5000 Birch Street, Ste. 3000           Newport Beach, CA 92660
6053426     Medical College Phys Group             P.O. Box 251508           Little Rock, AR 72225−1508
6053427     Midland Credit Management              2365 Northside Drive            Suite 300        San Diego, CA 92108
6053428     Midland Funding            2365 Northside Drive           Suite 300         San Diego, CA 92108
6094240     Midland Funding, LLC             Midland Credit Management, Inc.              as agent for Midland Funding, LLC           PO
            BOX 2011           Warren, MI 48090
6053430     NCO Financial            P.O. Box 4906         Trenton, NJ 08650
6053429     National Recovery Agency             2491 Paxton St.          Harrisburg, PA 17111
6053431     Nissan Motor Acceptance             Bankruptcy Dept.           P.O. Box 660366           Dallas, TX 75266
6285503     PERITUS PORTFOLIO SERVICES II, LLC, LLC/Wollemi Ac                            PO BOX 141419            Irving, Tx
            75014−1419
6087373     PORTFOLIO RECOVERY ASSOCIATES, LLC                            POB 41067           Norfolk, VA 23541
6053434     PRA Receivables Management LLC                 Agt of Portfolio Recovery Assc            P.O. Box 12914          Norfolk, VA
            23541
6053876     PRA Receivables Management, LLC                PO Box 41021             Norfolk, VA 23541
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6053432   Phillips Remote Cardiac Servic         7 Waterside Xing Ste 301          Windsor, CT 06095
6053433   Pinnacle Peridontics       Saline County Recovery, LLC             P.O. Box 1001      Alexander, AR 72002
6053435   Professional Bureau of Collect        P.O. Box 628           Elk Grove, CA 95759−0628
6053436   Quantum3 Group LLC            GCIII LLC          P.O. Box 788          Kirkland, WA 98083
6116237   Quantum3 Group LLC as agent for MOMA Funding LLC                    PO Box 788       Kirkland, WA 98083−0788
6053437   Radiology Associates        P.O. Box 8801          Little Rock, AR 72231−8801
6053438   Receivables Performance Mgmt            20816 44th Ave W            Lynnwood, WA 98036
6053446   SYNCB/JC Penney           P.O. Box 965007           Orlando, FL 32896−5009
6053447   SYNCB/Wal Mart           P.O. Box 965024           Orlando, FL 32896
6053439   Saline County Recovery         4113 Alcoa Road            Benton, AR 72015
6053440   SalliMae Servicing       P.O. Box 9500          Wilkes Barre, PA 18773−9500
6053441   Santander Consumer USA           P.O. Box 560284            Dallas, TX 75356
6053442   Southern Farm Bureau         P.O. Box 1800          Ridgeland, MS 39158
6053443   Southwestern Bell Telephone         Attn: Bankruptcy Group            P.O. Box 769       Arlington, TX 76004
6053444   State of Arkansas Dept of Fin        Safety Responsility         P.O. Box 1272, Room 2380         Little Rock, AR
          72203
6053445   Sunrise Credit Services       P.O. Box 9100          Farmingdale, NY 11735−9100
6053448   T−Mobile         P.O. Box 660252          Dallas, TX 75266−0252
6059653   U.S. Department of Education C/O Nelnet           121 South 13th Street, Suite 201       Lincoln, NE 68508
6053451   UAMS          4301 W. Markham Slot 612            Little Rock, AR 72205
6053450   UAMS          4301 West Markham Street           Little Rock, AR 72205
6053449   UAMS          P.O. Box 505         Linden, MI 48451−0505
6053452   UAMS Medical Center           P.O. Box 505         Linden, MI 48451−0505
6053453   United States Treasury        P.O. Box 7317         Philadelphia, PA 19101
6053454   University Hospital       4301 W. Markham             Little Rock, AR 72205
6053455   Wells Fargo Financial       P.O. Box 94498           Las Vegas, NV 89193−4498
                                                                                                                    TOTAL: 77
